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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-06968-RGK-MAR Date March 8, 2022

 

 

Title United States of America v. $305,000.00 in U.S. Currency

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Joseph Remigio Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Plaintiff’s Motion to Stay [DE 28]

I. INTRODUCTION

On August 30, 2021 the United States (the “Government”) filed a civil forfeiture complaint
against $305,000.00 in U.S. currency (“Defendant Assets”). (See Compl., ECF No. 1.) On October 13,
2021, Michael Magee (“Claimant”) filed a claim for the Defendant Assets. (ECF No. 12.)

Presently before the Court is the Government’s Motion to Stay the action pursuant to 18 U.S.C. §
981(g) (“Section 981”). (ECF No. 28.) For the reasons below, the Court GRANTS the Government’s
Motion.

Il. FACTUAL BACKGROUND

The following facts are alleged in the Complaint, unless otherwise noted:

This case involves currency seized from box number 4303 at United States Private Vaults
(“USPV”). USPV offers its customers a unique service. The company, located at a strip mall in Beverly
Hills, California, rents safe deposit boxes. But USPV’s offerings, designed to provide customers with
increased privacy and security, differ from those available at a typical bank in several material ways.
First, USPV does not keep keys to its customers’ boxes. Customers maintain all keys to their boxes and
can access the vault containing their boxes only through a biometric data reader. Second, USPV offers
24/7 monitoring by the ADT security company. Finally, USPV offers insurance for each safe deposit
box, which banks do not offer.

According to the Government, USPV’s policy of total anonymity has “catered to and attracted
criminals who sought to keep their identities and the source of their cash beyond the reach of banks,
regulators, the IRS, and law enforcement.” (Compl. § 8, ECF No. 1.) The contents of boxes at USPV

 

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have been subjected to forfeiture numerous times since 2016 because they were the proceeds of criminal
activity. The Government alleges here that box 4303, which belongs to Claimant, contains such
proceeds. Further, the Government alleges that Claimant has a significant criminal history, including a
conviction for cocaine trafficking.! The Government has also filed in camera a declaration that details a
current federal criminal investigation in this District that relates to Claimant and the Defendant Assets.

It. JUDICIAL STANDARD

Upon the Government’s Motion, “the court shall stay the civil forfeiture proceeding if the court
determines that civil discovery will adversely affect the ability of the Government to conduct a related
criminal investigation or the prosecution of a related criminal case.” 18 U.S.C. § 981(g)(1). When the
Government moves for a stay, it may also “submit evidence ex parte in order to avoid disclosing any
matter that may adversely affect an ongoing criminal investigation or pending criminal trial.” 18 U.S.C.

§ 981(g)(5).
As used in the statute, “related criminal investigation” means:

[A]n actual . . . investigation in progress at the time at which the request for
the stay, or any subsequent motion to lift the stay is made. In determining
whether a criminal . . . investigation is ‘related’ to a civil forfeiture
proceeding, the court shall consider the degree of similarity between the
parties, witnesses, facts, and circumstances involved in the two
proceedings, without requiring an identity with respect to any one or more
factors.

18 U.S.C. § 981(g)(3). The statute’s language is the product of an amendment by the Civil Asset
Forfeiture Reform Act of 2000 (“CAFRA”) that “broadened the stay relief significantly” and did away
with any requirement that the Government show good cause. United States v. All Funds Deposited in
Account No. 200008524845, 162 F. Supp. 2d 1325, 1330 (D. Wyo. 2001). The statute requires no
particularized showing of prejudice or harm; all the Court need determine is whether civil discovery will
likely interfere with the criminal investigation. See U.S. v. Real Property Located at 6415 N. Harrison
Ave., Fresno Cty., 2012 WL 4364076, at *3 (E.D. Cal. Sep. 21, 2012).

 

1 Claimant allegedly informed police officers executing a warrant on July 15, 2021 that this was “not his first rodeo,” that
“prison was like Harvard and he had learned from the very best,” and that he had other assets that law enforcement had yet to
discover. (Compl. §§ 21-22.)

 

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IV. DISCUSSION

The Government argues that a stay is required here because discovery in this case will
potentially prejudice the ongoing related criminal investigation. Claimant counters that the Government
has not specifically demonstrated what harm would result, that any resulting harm could be vitiated by a
protective order, and that it would be unfair to stay this case. The Court agrees with the Government.

In order to trigger Section 981’s mandatory stay provision, the Government need only make a
threshold showing that discovery in the civil forfeiture matter will likely interfere with a related criminal
investigation. See United States v. $1,026,781.61 in Funds from Fla. Capital Bank, 2009 WL 3458189,
at *2 (N.D. Cal. Oct. 21, 2009). The Government need not make specific allegations of prejudice, since
the evidence required to support the allegations would result in the very harm that the requested stay
seeks to avoid—preemptive disclosure of the “nature and scope of the investigation and . . . future
investigative action.” Jd.

The Government has carried its burden here. It has alleged in its public filings information about
the criminal investigation, including that Claimant has a significant criminal history (which he discussed
freely while officers were executing a search warrant at his residence) and that he mentioned not
needing the Defendant Assets because he “had enough money hidden away to last a lifetime.” (Compl. §
22.) It has also submitted further evidence in camera, as authorized by the statute, that the criminal
investigation of Claimant in this District is closely related to this case. See 18 U.S.C. § 981(g)(5); see
also United States v. GAF Fin. Servs., 335 F. Supp. 2d 1371, 1373 (D. Fla. 2004) (“[T]hough claimants
understandably object to a procedure that would permit the filing of ex parte, confidential and sealed
declarations in support of a stay, the statute allows for the government to submit evidence in an [sic]
confidential, ex parte form.”).

Based on the filings, the Court finds that civil discovery is likely to adversely affect the
Government’s ability to conduct the related criminal investigation, primarily because it would “subject
the Government’s criminal investigation to broader and earlier discovery than would occur in a criminal
proceeding.” U.S. v. Real Property and Improvements Located at 10 Table Bluff Rd., Loleta, 2007 WL
911849, at *2 (N.D. Cal. March 23, 2007). No party may serve interrogatories, document requests, or
notice depositions in a criminal investigation or case, see Fed. R. Crim. P. 16, but civil discovery in this
case would likely obligate the Government to respond to all of the above. Further, Claimant has
indicated that he intends to bring a motion to suppress based on the FBI’s alleged misconduct in seizing
Claimant’s USPV box. (See Claimant’s Opp’n to Mot. at 10, ECF No. 33.) Defending against such a
motion would require the Government to depose witnesses and offer declarations from the seizing FBI
agents, which could further prejudice the related investigation. See United States v. $247,052.54, 2007
WL 2009799, at *2 (N.D. Cal. July 6, 2007) (“Deposing [witnesses] now would allow [Claimant] the

 

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opportunity to cross-examine them in advance of trial . . . requiring them to divulge information related
to the criminal case . . . [and] testimonial declarations of law enforcement officers, whose testimony will
play a central role in the criminal trial, creat[e] additional risks.”’)

Claimant’s arguments against a stay are not availing. He first argues that the Government needs
to make a specific demonstration of any potential prejudice, which (as discussed above) is not the
applicable standard. He also argues that the Court could fashion a protective order to protect any
information that might prejudice the criminal investigation. However, Section 981 forbids imposing “‘a
protective order as an alternative to a stay if the effect of such protective order would be to allow one
party to pursue discovery while the other party is substantially unable to do so.” 18 U.S.C. § 981(g)(3).
Due to the ongoing criminal investigations, Claimant seems likely to assert his Fifth Amendment
privilege in the face of interrogatories or a deposition. Practically, this means that Claimant would be
able to obtain discovery while the Government would be unable to do so. Section 981 forbids a
protective order in such a scenario.”

V. CONCLUSION

For the foregoing reasons, the Court GRANTS the Government’s Motion and STAYS the Case
pending resolution of the related criminal investigation and case. The Government must file a status
report regarding the related criminal investigation and case no later than ninety days from the issuance
of this Order, and continue to file such reports every ninety days until the stay is lifted.

IT IS SO ORDERED.

 

Initials of Preparer jre/a

 

 

2 Claimant also makes an ancillary argument that there was no probable cause for seizure of the Defendant Assets, and in the
interests of fairness, he should be allowed to file a suppression motion. These arguments are not relevant to the standard for
granting a stay under Section 981, which is laid out in detail above. Claimant may make any such argument once the stay is
lifted.

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